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APPLICAT|ON AND AFF|DAV|T IN SUFPORT OF JUDGMENT
\ttached hereto are the indicated documents which contain sufficient detail as to liability and damage to apprise the Defendant clearly of the
laim against the Defendant, including the amount of any interest claimed
]Properly authenticated copy of any notc, security agreement upon which claim ts based U ltemized statement of accountl:l lnterest worksheet

]Vouchens U Check l:l Other written document EI m Veriiied itemized repair bill or estimate
HEREBY cERTIFY: Thai 1 am the £J Plaimifr El of the mainerfh¢rein and am competent 10 testify to
he matters stated in this complaint, which are made on my personal knowledge; that there is justly due and owing by the Defendant to the
’laintiff the sum set forth m the Complaint

l solemnly aflirm under the penalties of perjury and upon personal knowledge that the contents of the above Complaint are true and l am
>ompetent to testify to these matters U 'I'he Defendant(s) El is/are tn the military service U is/are not in the military service and the facts
importing this statement are:

 

 

] l am unable to determine whether or not any Defendant is in military service

EXHIBIT A

 

 

m n y f h steam ofIRm
)C/CV l (front) (Rev. 8/2008) (Print Date 9/2008)

 

NOTICE TO DEFENDANT BEFORE 'l`RlAL -

lf you agree that you owe the amount claimed, it may not be necessary for you to come to Court. Contact the Plaintiff if you wkh to make
payment lf` you arc appear'@g'@g;®_rj_®t grew Q,Aniqg lqger§) ppm , ' . need a witness,
contact the Clerk's office about a summons to the witness d god Wwymy Fg,d§\? gpl%u ' f '.'

NOTICE IF JUDGMENT IS ENTERED .

If the Court awards judgment in thiscase to the Plaintiff, you as the Judgment Debtor, may do several things before submitting payment to
satisfy the judgment One is to appeal the decision to the circuit court sitting in that Distn'ct. This is what's involved in an APPEAL cfa
District Court judgment- ` ,

l. 30 DAYS--You would have 30 days from the day of an adverse judgment within which to note your appeal at the District Court and

there pay the higher court‘s filing fee. It` you qualify as indigent, you may at that time petition the District Court to waive the collection
of this fee. 1 ',. 1 . ~ .

2. TRANSCRIPT COSTS-If the amount which you were sued was $5,000 or less (not counting interest or attomd'y's fecs), tlte circuit
court would hear your appeal as an entirely dew case from start to tinish. Therefore, no transcripts from the District Court trial would
be necessary ll`, however, this amount should exceed $5,000, the higher court would hear your appeal on the record of what transpired
in the Dis_trict Court. That appeal requires a transcript of the District Coun trial record Fo_r information and costs to obtain a transcript

l ' refer to the 'l`ransctipts and Recordings brochure DCA 27 available '
at the clerk's office o __
after an adverse judgment is to men MOT{ON _ 1
FOR A NEW TRIAL. .'
, l. 10 DAYS-~You have 10 days from day of judgment to do this. ._ .

2. GRANT/DENY-lt` the Court grants your motion, you will

receive a summons to a new trial. - 1 »
are to file MOTIONS to change the .[UDGMENT.
_. l. 10 DA\’S for AL _ ,G or AMENDING the judgment .

2. 30 oAYs for ua smc movements ` " _
ll' you would not want to move on lpy of these optiom, then you '
should make all possible arrangements with the Plnlntlff or the _ ~ rt
Plalltltl‘s attorney to pay the'judgmeot amount. Shottld you not do -
thls, the Plalntllf could request the Court'a eatorcemeot powers.

'l'hes`e enforcement procedures include -

1. lNTERROGATORIES-'llhis is an attempt to locate any assets you may have. 'I`hls requires written answers

2. ORAL EXAM|NAT!ON--Another attempt to locate any assets you may have. This requires your appearing in court to answer
question The Court backs up these plaintiff attempts at discovery by bringing its contempt powers to bear on an unresponsive
defendant More stringent enforcements you should know about ioclude-- -

3. WRI'I` OF EXECUTION--Such a writ could order the levying or seizure and sale of any of your goods. And you, in such a
circumstance, would bear the expenses of the seizure (e.g. towing, moving, storage fees, auctioneers feee, advertising costs).
Someofyourgoods are,bytheirnamre, exemptii'ornsuchaction-

(a) Wearing apparcl, books, tools, instruments, or appliances necessary for the practice of any trade or profession except those kept for
sale, lease, or barter, in an amount not to exceed $5,000 in value. ,

(b) Money payable in the event of sickness,,accident, iniury, pr death of any person, including compensation for loss of fixture earnings
'l'his exemption includes but is not lindtcd,to.money payable on account ofjudgments, arbitrations, compromises, insurance benefits,
compensation and relief Disability income benefits are not exempt if the judgment is for necessities contracted for alter the disability ~
(c) Professionally prescribed health aids for you or any of your dependents '

(d) Your interest, not to exceed $l,000 in value, inhousehold goods, wearing apparel, appliances, books, animals kept as pets, and other
items that are held primarily for personal family or household use by you or your d ts. "
(e) Cash or property of any kind equivalent in value to $6,000, if within 30 days from the date of the attachmentor levy you elect to
exempt cash or selected items of property irran amount not to exceed a cumulative value of $6,000.

4. GARNISHMENT `Ol'~` PROPER -Such a writ, attaching certain assets of yours in the hands of-someone else, would order that other .'
party (e.g. bank holding your accotmt, agent) to hold the asset subject to further court proceedings.

`5. GARNISHMENT OF WAGES--Such'a writ wouldorder
your employer to begin withholding horn your wages the amount
lett over alter deducting what is lawfully required and alter
exempting money that may not be garnished
Exemptions from garnishmento- .

(l) the greater of: (a) 75 percent of the disposable wages due;

OR (b) 30 times the federal minimum hourly wages under the

Fair Labor Standards Act in effect at the time the wages are due;

AND (2) any medical insurance payment deducted from an

employee's wages by the employer. Othcr federal exemptions

may be available Disposable wages means the part ot`wages

that remain after deduction of any amount required to be withheld

by law. Finally, should you become the Judgment chtor you

should know that judgment is public information and anyone may

request a copy of it.

'l`o Plaintiff: lf the Court enters a judgment for a sum certain, v
you have a right to obtain a lien on real property._` _~

DCJCV l (back) (Rev. 8/‘2008)

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